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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                             UNITED STATES DISTRICT COURT                                  June 02, 2022
                              SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
VS.                                               §   CRIMINAL ACTION NO. 4:21-CR-281-S
                                                  §
HIEN NGO VO                                       §

                          REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE

       The Magistrate Court submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b)(3). This case has been referred to the United States Magistrate

Judge to accept a felony guilty plea and conduct allocution pursuant to Federal Rule of Criminal

Procedure Rule 11. All parties waived the right to plead guilty before a United States District Judge

and consented instead to proceed before a United States Magistrate Judge.

       On June 1, 2022, Defendant and counsel appeared by video conference before the

Magistrate Judge, who addressed Defendant personally in open court and informed Defendant of

the admonishments under Rule 11 of the Federal Rules of Criminal Procedure and determined that

Defendant was competent to plead guilty and fully understood said admonishments. Defendant

could not be physically present without seriously jeopardizing public health and safety during the

national emergency created by the novel coronavirus. See Southern District of Texas General

Order 2022-3 (implementing Coronavirus Aid, Relief, and Economic Security Act (“CARES

Act”), and March 15, 2022 action by Judicial Conference authorizing video teleconferencing under

certain circumstances). The plea hearing was not postponed because the Magistrate Judge found

that further delay of the plea would cause serious harm to the interests of justice, namely resulting

in Defendant serving more time in jail than Defendant’s potential guideline sentence and/or

prolonging the detention of material witnesses designated under Title 18, United States Code,

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Section 3144. Defendant waived personal appearance on the record and consented to appearing by

videoconference after consultation with counsel. The Magistrate Judge also confirmed that

Defendant could see and hear clearly during the proceeding.

       Defendant pleaded guilty to count one of the Superseding Information (count one, violation

of Title 18, United States Code, Section 1960(b)(1)(B)). All other counts are to be dismissed at

sentencing. Pursuant to Rule 11(c)(1)(A) and Rule 11(c)(1)(B), the Court summarized the

written plea agreement to Defendant and counsel through video conference. The Court

explained that the District Judge is obligated to calculate the applicable sentencing guideline range

under the Sentencing Guidelines promulgated by the United States Sentencing Commission and

to consider that range in determining Defendant’s sentence. See Fed. R. Crim. P. 11(b)(1)(M). The

Court also explained that Defendant could receive a term of supervised release. The Court advised

Defendant as to the range of punishment with regard to imprisonment, fines, restitution, supervised

release, forfeiture of property, and the statutory fee assessments. The Court finally informed

Defendant that, if a person who is not a United States citizen is convicted of a crime, he or she

may be removed from the United States, denied citizenship, and denied admission to the United

States in the future. See Fed. R. Crim. P. 11(b)(1)(O).

       The Magistrate Judge finds the following:

               1. Defendant, with the advice of counsel, has consented orally to
                  enter this guilty plea before the Magistrate Judge, subject to final
                  approval and sentencing by the District Judge;

               2. Defendant fully understands the nature of the charges and
                  penalties;

               3. Defendant understands his/her Constitutional and statutory
                  rights and wishes to waive these rights, including his/her right to
                  appeal or collaterally attack his sentence (see Fed. R. Crim. P.
                  11(b)(1)(N));

               4. Defendant’s plea is made freely and voluntarily;

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                 5. Defendant is competent to enter this plea of guilty;

                 6. There is an adequate factual basis for this plea; and

                 7. Further delay of the plea would cause serious harm to the
                    interests of justice.

                                         Recommendation

          The Magistrate Court RECOMMENDS that the District Court accept the plea of guilty

and enter final judgment of guilt against Defendant.

                                              Warnings

          The parties may file objections to this Report and Recommendation, unless they waive the

right to do so. A party filing objections must specifically identify those findings or

recommendations to which objections are being made. The District Court need not consider

frivolous, conclusive, or general objections. Battle v. United States Parole Comm’n, 834 F.2d 419,

421 (5th Cir. 1987) (quoting Nettles v. Wainwright, 677 F.2d 404, 410 n.8 (5th Cir. 1982) (en

banc)).

          A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within 14 days after being served with a copy of the Report—or the party’s

waiver of the right to do so—shall bar that party from de novo review by the District Court of the

proposed findings and recommendations and, except upon grounds of plain error, shall bar the

party from appellate review of proposed factual findings and legal conclusions accepted by the

District Court to which no objections were filed. See 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474

U.S. 140, 150-53 (1985); Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th

Cir. 1996) (en banc), superseded by statute on other grounds, 28 U.S.C. § 636(b)(1) (extending

the time to file objections from ten to fourteen days).

          The Clerk is directed to send a copy of this Report and Recommendation to all parties.

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 SIGNED in Houston, Texas on June 2, 2022.




                                         Sam S. Sheldon
                                         United States Magistrate Judge




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